               Case 2:23-cv-00721-RAJ Document 18 Filed 10/09/23 Page 1 of 3
     Pro Se 15 2016                                                             Hon. Richard A. Jones


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                           IN THE UNITED STATES DISTRICT COURT FOR THE
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                           WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7

 8       ABHIJIT BAGAL, an individual,                        Civil Action No. 2:23-cv-00721-RAJ

 9                               Plaintiff,                   Action Filed: May 11, 2023
                      v.
10                                                            Judge: Hon. Richard A. Jones
         KSHAMA SAWANT, in her official
11       and individual capacities as                         NOTICE OF SUPPLEMENTAL
         Councilmember, District 3, of the                    AUTHORITY
12       Seattle City Council;
         LISA HERBOLD, in her official and
13       individual capacities as
         Councilmember, District 1, of the
14       Seattle City Council; and
         BRUCE HARRELL, in his official and
15       individual capacities as the Mayor of
         the City of Seattle,
16
                                 Defendants.
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18
             Pursuant to Local Civil Rule 7(n), Plaintiff writes to advise the Court of Supplemental
19
     Authority, issued after Plaintiff filed Opposition to Defendants’ Motion to Dismiss. See Dkt. 13.
20
             Plaintiff attaches as Exhibit A – a letter dated October 7, 2023, by the State of California
21
     Governor Gavin Newsom vetoing Senate Bill SB-403, Discrimination on the basis of ancestry to
22
     include “caste” and other dimensions, on the grounds that discrimination based on “caste” is
23
     already prohibited under California law and the bill is therefore unnecessary.
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     PLAINTIFF’S NOTIFICATION OF SUPPLEMENTAL AUTHORITY - 1
     2:23-CV-00721-RAJ                                                        ABHIJIT BAGAL, PLAINTIFF, PRO SE
                Case 2:23-cv-00721-RAJ Document 18 Filed 10/09/23 Page 2 of 3
     Pro Se 15 2016                                                            Hon. Richard A. Jones


 1        I declare under penalty of perjury that the foregoing is true and correct.

 2   DATED this 9th day of October 2023 at Morrisville, Wake County, North Carolina.

 3   Respectfully Submitted,

 4
     Signature:                              /s/ Abhijit Bagal
 5
     Printed Name:                           ABHIJIT BAGAL (Plaintiff, Pro Se)
 6
     Address:                                125 Vista Brooke Drive, Morrisville, NC 27560
 7   Phone: (919) 917-3839                   Email: abebagal@gmail.com

 8
                                       CERTIFICATE OF SERVICE
 9
             I hereby certify that on October 9, 2023, I electronically filed the foregoing with the
10
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to those
11
     attorneys of record registered on the CM/ECF system.
12
     Respectfully Submitted,
13

14
     Signature:                              /s/ Abhijit Bagal
15
     Printed Name:                           ABHIJIT BAGAL (Plaintiff, Pro Se)
16   Address:                                125 Vista Brooke Drive, Morrisville, NC 27560
     Phone: (919) 917-3839                   Email: abebagal@gmail.com
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     PLAINTIFF’S NOTIFICATION OF SUPPLEMENTAL AUTHORITY - 2
     2:23-CV-00721-RAJ                                                      ABHIJIT BAGAL, PLAINTIFF, PRO SE
       Case 2:23-cv-00721-RAJ Document 18 Filed 10/09/23 Page 3 of 3
                               EXHIBIT-A




                      OFFICE OF THE GOVERNOR


OCT O 7 2023


To the Members ofthe California State Senate:

I am returning Senate Bill 403 without my signature.

This bill would define "ancestry" for purposes of the Fair Employment and
Housing Act, the Unruh Act, and the Education Code to include "caste" and
other dimensions of ancestry.

In California , we believe everyone deserves to be treated with dignity and
respect, no matter who they are, where they come from , who they love, or
where they live. That is why California already prohibits discrimination based on
sex, race, color, religion, ancestry, national origin, disability, gender identity,
sexual orientation, and other characteristics, and state law specifies that these
civil rights protections shall be liberally construed. Because d iscrimination based
on caste is already prohibited under these existing categories, this bill is
unnecessary.




           GOVERNOR GAVIN NEWSOM• SACRAMENTO, CA 95814 • (916) 445-2841

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